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                         UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY


YAKOV SMOTRITSKIY,
Plaintiff

                               V.                       SUMMONS IN A CIVIL CASE
PORTFOLIO RECOVERY ASSOCIATES, LLC,
ET AL.,
Defendant
                                                        CASE NUMBER: 2:10−CV−05525−PGS −ES




   TO: (Name and address of Defendant):




   A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) −− or 60 days if
you are the United States or a United States Agency, or an office or employee of the United States described in
Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer to the attached complaint or a
motion under rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff`s attorney, whose name and address are:




   If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




 WILLIAM T. WALSH
CLERK
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Leroy Dunbar                                      ISSUED ON 2010−10−27 11:09:36.0, Clerk
(By) DEPUTY CLERK                                             USDC NJD
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                                                              RETURN OF SERVICE
                                                          DATE
Service of the Summons and complaint was made by me (1)
NAME OF SERVER (PRINT)                                    TITLE


Check one box below to indicate appropriate method of service




               Served personally upon the defendant. Place where served: _______________________________________
               ________________________________________________________________________
               Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
               discretion then residing therein.

               Name of person with whom the summons and complaint were left:__________________________________

               Returned unexecuted:_____________________________________________________________________
               _________________________________________________________________________
               ________________________________________________________________________
               Other (specify) :_________________________________________________________________________
               ________________________________________________________________________
               ________________________________________________________________________



                                                          STATEMENT OF SERVICE FEES
TRAVEL                                       SERVICES                                             TOTAL

                                                            DECLARATION OF SERVER

             I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on            ___________________                    _______________________________________
                                               Date                     Signature of Server

                                                                        _______________________________________
                                                                        Address of Server
